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                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION

THE ESTATE OF JIM K. SCOTT, and          )
REGINA SCOTT, Individually,
                                         )
      Plaintiffs,                        )
                                         )
v.                                       )    No. 10-2851 Ma C
                                         )
NATIONAL UNION FIRE INSURANCE            )
COMPANY OF LOUISIANA d/b/a               )
NATIONAL UNION FIRE INSURANCE            )
COMPANY, et al.                          )
                                         )
       Defendants.                       )


               ORDER DISMISSING CASE WITHOUT PREJUDICE


      Before the Court is the parties' April 18, 2012 stipulation of

dismissal without prejudice. (D.E. 35). For good cause shown, this

case is DISMISSED WITHOUT PREJUDICE.

           It is so ORDERED this 4th day of May, 2012.




                                   s/Samuel H. Mays, Jr.
                                   SAMUEL H. MAYS, JR.
                                   UNITED STATES DISTRICT JUDGE
